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EXHIBIT C

THE LAW OFFICES OF ROBERT G. AN DROSIGLIO, P.C.
30 Wall Street, 8" Floor, New York, New York 10005
(212) 742-0001 — Fax (212) 742-0005

 
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MILITARY
SEXUAL
TRAUMA

Movement September 01, 2019

Janelle Marina Mendez

EndMST.org
RE: Military Sexual Trauma Movement Conference in Washington D.C.

To Whom This May Concern:

One of your students, Robert A. Losieniecki, will be the photographer-on-duty for Military Sexual
Trauma Movement, Inc. Our Movement will be in Washington D.C. from Sept. 10th to Sept.

15th to host a conference and to uphold our civic duties by speaking with our legislators about
Military Sexual Trauma. Due to Robert's instrumental role in documenting this educational!
experience, | respectfully ask that you excuse his absence so that he may help raise awareness
and fulfill his civic duties Surrounding Military Sexual Trauma. This is a tremendous opportunity

for the student to meet with their legislators, hear speakers, and educate themselves and the
public.

If you would like to know more information feel free to contact me
directly.

Thank you in advance,
Janelle M. Mendez

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Founder & CEO
Military Sexual
Trauma Movement

 
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MoM

 

letter
1 message

 

Deidra Hubay <mstm.communication.directar@gmail.com> Mon, Sep 2, 2019 at 11:59 AM
To: ralosieniecki@gmail.com ‘

 

Deidra Hubay

Military Sexual Trauma Movement

Executive Director of Operations & Communications
EndMST.org/ExecDir

Military
Sexual
Trauma
Movement

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501(c)4 DISCLOSURE:

The Military Sexual Trauma Movement, Inc. is a registered 501 (c)4 non-profit organization. Donations are not
tax deductible. Donations go towards lobbying elected officials to enact laws that protect the social welfare of
service members and veterans who have experienced Military Sexual Trauma by enacting the Military Sexual
Trauma Victims Bill of Rights. To donate to our cause please visit: EndMST.org/Donate

 

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